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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


    ALINEA CAPITAL GROUP, LLC               Civil Action No. 24-6505(CPO/SAK)

    v.

    THE TRAVELERS INDEMNITY                 60 DAY ORDER ADMINISTRATIVELY
    COMPANY OF CONNECTICUT                  TERMINATING ACTION


         It having been reported to the Court that the above-captioned
  action has been settled,
         IT IS on this     14TH        day of March 2025,
         ORDERED that this action and any pending motions are hereby
  administratively terminated; and it is further
         ORDERED that this shall not constitute a dismissal Order under
  the Federal Rules of Civil Procedure; and it is further
         ORDERED that within 60 days after entry of this Order (or
  such additional period authorized by the Court), the parties shall
  file all papers necessary to dismiss this action under Federal
  Rule of Civil Procedure 41 or, if settlement cannot be consummated,
  request that the action be reopened; and it is further
         ORDERED that, absent receipt from the parties of dismissal
  papers or a request to reopen the action within the 60-day period,
  the Court shall dismiss this action, without further notice, with
  prejudice and without costs.

                                             s/SHARON A. KING _____
                                        UNITED STATES MAGISTRATE JUDGE
